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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________________
                                             )
                                             )
SANDRA L. MACAULAY, AS ADMINISTRATRIX )
FOR THE ESTATE OF CHRISTOPHER A.             )
MACAULAY,                                    )
                                             )
          Plaintiff,                         )
                                             )
    v.                                       ) CA NO: 07-10864 NG
                                             )
MASSACHUSETTS BAY COMMUTER RAILROAD )
COMPANY,                                     )
                                             )
          Defendant.                         )
____________________________________________ )

        OPPOSITION OF DEFENDANT MASSACHUSETTS BAY COMMUTER
        RAILROAD COMPANY, LLC TO PLAINTIFF’S MOTION TO COMPEL

                                       INTRODUCTION

       This case arises from a tragic train accident that occurred on January 9, 2007 in which

plaintiff’s decedent, who was an employee of defendant Massachusetts Bay Commuter Railroad

Company, LLC (“MBCR”), was killed. Plaintiff has filed a motion to compel which is chock

full of items that are purportedly in dispute. As MBCR’s discovery responses quoted in the

motion reveal, however, MBCR agreed to produce almost all of the discovery which Plaintiff

now seeks to compel. (See Document Response Nos. 1, 3, 7, 9, 10, 12, 13, 16, 17, 18, 20, 21, 27,

31, 37, 38, 39, quoted in Plaintiff’s Memorandum of Law in Support of her Motion to Compel

Production of Documents and Responses (“Mem.”)). In addition, MBCR agreed to supplement

certain discovery responses as a result of the parties’ discovery conferences in connection with

the motion to compel. (See Affidavit of Counsel in Support of MBCR’s Opposition to Plaintiff’s

Motion to Compel, filed herewith). Thus, there remain only three categories at issue and the rest
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of the motion does not warrant the Court’s attention. The three categories in dispute are: (i)

subsequent remedial measures taken by MBCR after the accident, (ii) MBCR’s operating

agreement with the Massachusetts Bay Transportation Authority (the “MBTA”), and (iii)

personnel files of non-parties. As set forth below, the motion should be denied as to these

requests because:

        •    Any subsequent remedial measures taken by MBCR are irrelevant based on
             Plaintiff’s theories of liability and will not lead to the discovery of admissible
             evidence. Indeed, Plaintiff’s rote assertions that the subsequent remedial measures
             are for feasibility or impeachment purposes under Rule 407 are baseless;

        •    Plaintiff’s request for the entire operating agreement between the MBCR and the
             MBTA is overbroad because, by her own admission, Plaintiff seeks to ascertain
             MBTA’s indemnification obligations only;1 and,

        •    MBCR has produced the training records of two non-parties, (the foreman of the crew
             and the dispatcher on duty at the time of the accident), there are no disciplinary
             records for these non-parties, and Plaintiff is not entitled to the full contents of their
             personnel files - - which contain information related to payroll, benefits, health
             insurance, etc. - - for obvious privacy reasons.

        For these reasons, and as set forth more fully below, MBCR respectfully requests that the

Court deny the motion to compel in its entirety.

                         BACKGROUND AND PROCEDURAL HISTORY

        On January 9, 2007, an MBCR crew was working on a portion of track located in

Woburn, Massachusetts when a commuter rail train accidentally struck equipment being

operated by the crew, killing two MBCR workers – plaintiff’s decedent Christopher Macaulay

and the foreman of the crew, James Zipps. The cause of the accident is disputed. A key issue in

the case involves the crew’s failure to apply safety devices known as shunting barricades to their

work area. As part of its defense, MBCR asserts that had the crew used the shunting barricades



1
 MBCR would agree to produce the relevant indemnification provisions to Plaintiff subject to an appropriate
confidentiality stipulation.


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-- as MBCR rules required them to do -- then the accident would not have occurred. (A shunting

barricade would have given the oncoming train, among other things, a stop signal which would

have prevented the train from traveling into the segment of track where the crew was located).

Plaintiff has asserted several theories of liability against MBCR, including dispatcher error,

negligence in failing to enforce its own rules and regulations, negligence in failing to provide its

crews with working shunting devices, and negligent operation of the train by the engineer. (See

Mem. at 3).

MBCR’s Document Production

       In response to Plaintiff’s first document request, MBCR produced several hundred pages

of documents, including witness statements, training and testing records, dispatcher records,

rules and procedures, a track chart, photographs, the personnel file and other employment

documents of Plaintiff’s decedent, toxicology reports and event recorder data (which is

information from the train’s “black box”). More specifically, MBCR produced the following

(identified by bates number):

              1         Unusual Occurrence Summary Report for January 9, 2007
              2-3       Job Briefing Form
              4         Form D form filled out by foreman Zipps
              5         Written statement of Lina Maseda
              6         Train Dispatcher’s Transfer Record
              7-13      Dispatcher Maseda’s training records
              14-15     Statement of Engineer Joseph Carbone
              16-17     Statement of Conductor Arthur Horgan
              18-19     Statement of Assistant Conductor Robert Pietrafetta
              20        Statement of Senior Trainmaster Richard Currier
              21        Statement of Manager of Finance and Administration Paul
                        O’Leary
              22        Statement of Assistant Chief Engineer John Callahan
              23-24     Statement of Roadmaster James Howland
              25-29     Qualification cards for crew members
              30-55     Training records of Foreman Zipps
              56-76     Training records of Crewmember Daniel Brunnelle
              77-97     Training records of Crewmember Edwin Olson


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           98-121     Training records of Crewmember John Hickey
           122-146    Training records of Plaintiff’s Decedent Christopher
                      Macaulay
           147-170    Training records of Crewmember Michael Dumont
           171-172    Training records of Plaintiff’s Decedent Christopher
                      Macaulay
           173-175    Training summary sheets of the train crewmembers
           176-180    Form Ds issued by Dispatcher Maseda for Lowell line on
                      1/9/07
           181-185    Computer Dispatching System Records
           186-291    NORAC Operating Rules
           292-330    MBCR Roadway Worker Protection Manual
           331-346    MBCR Bulletin Orders
           347-349    Track Chart
           350-365    Personnel File of Plaintiff’s Decedent Christopher
                      Macaulay
           366-421    Payroll Employee Cumulative Report for Plaintiff’s
                      Decedent Christopher Macaulay from 7/1/2003
           422        Photographs
           423-429    MBCR Special Inspection Reports (trains)
           430-578    MBTA Commuter Rail Service Employee Timetable
           579-611    Personnel File of Plaintiff’s Decedent (portions of)
           612-660    Train Dispatcher’s Manual
           661-672    Dispatcher’s Record of Movement of Trains for 1/9/07
           672-673    Dispatcher’s Train Sheet for Lowell Line for 1/9/07
           674-707    Toxicology reports of train crew, dispatcher, foreman, and
                      plaintiff’s decedent
           708-716    Event recorder data (graphical)
           717        Radio communications (CD)

In addition, MBCR has supplemented its production with the following:

           718          Correspondence from Plaintiff’s Decedent’s Counsel
           719-720      Notice of Formal Investigation to Dispatcher
           721          Letter to Dispatcher dated January 10, 2007
           722          Safety Flash posted January 12, 2007
           723          MBTA Police Department Journal Incident Report
                        (Draft)
           724-730      Woburn Police Department Reports
           731-748      Training records of Assistant Conductor Robert
                        Pietrafetta
           749-766      Training records of Engineer Joseph Carbone
           767-783      Training records of Conductor Arthur Horgan
           784-791      Training records of Lina Maseda
           792-797      Track Chart (full)


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            798           Track Work Estimate
            799-930       Track Inspection Reports
            931           Dispatcher Work History
            932-956       MBCR Program of Operational Tests and Inspections
            957-967       Miscellaneous rules
            968-1046      Employee Test Detail Reports for Crewmembers, Train
                          Crew, and Dispatcher
            1047          Narrative of Assistant Chief Engineer John Mitchell
            1048          Signal Appliances Involved and Related History Sheet
            1049-1062     Form Ds issued by Dispatcher for Fitchburg line on
                          1/9/07
            1063-1071     Computer Dispatching System Recordings
            1072-1098     Crawford Interlocking VHLC Recordings
            1099-1199     Pre-Accident Inspection Reports (Signals)
            1200          Diagram
            1201-1270     Work Order History for Swingloader
            1271-1291     Inspection Reports (Train)
            1292          Estimate of Damage to Train
            1293-1377     Work Order Checklists for Trains
            1378-1405     Event Recorder Data (Tabular)
            1406          Unusual Occurrence Summary Report for 1/10/07
            1407          Estimate of Damage to Swingloader


       Quite simply, MBCR has complied with Plaintiff’s document request (aside from the

categories at issue below).

MBCR’s Interrogatory Answers

       MBCR also fully answered plaintiff’s interrogatories. In fact, the motion to compel

identifies only four (of 21) interrogatories in dispute: Nos. 9, 14, 15, and 16. Of those four,

MBCR has agreed to supplement its discovery responses regarding Nos. 14, 15, and 16 relating

to rates of pay and fringe benefits. (Counsel Aff. ¶ 2). Therefore, only one interrogatory - - No.

9 - - remains in dispute, which relates to subsequent remedial measures.




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                                           ARGUMENT

I.     MBCR’s Subsequent Remedial Measures Are Irrelevant to Plaintiff’s Theories

       By Request No. 19 and Interrogatory No. 9, Plaintiff seeks “records of subsequent

remedial repair or action” in connection with the accident. (Mem. at 11, 21). MBCR objected to

the document request “on grounds that it is vague, ambiguous, seeks irrelevant documents and is

not calculated to lead to the discovery of admissible evidence” and to the counterpart

interrogatory on the additional ground that it impinges upon the attorney-client privilege and

work product doctrine. (Mem. at 11, 21). Plaintiff cannot establish that MBCR’s subsequent

remedial measures (i.e. certain rule changes) relate to Plaintiff’s theories of liability, and

therefore, there is no basis to discover the information.

       Fed. R. Evid. 407 provides:

               When, after an injury or harm allegedly caused by an event, measures are
               taken that, if taken previously, would have made the injury or harm less
               likely to occur, evidence of the subsequent measures is not admissible to
               prove negligence, culpable conduct, a defect in a product, a defect in a
               product's design, or a need for a warning or instruction. This rule does not
               require the exclusion of evidence of subsequent measures when offered
               for another purpose, such as proving ownership, control, or feasibility of
               precautionary measures, if controverted, or impeachment.

Although Rule 407 speaks in terms of admissibility at trial and not discovery, discovery must be

relevant and, if not admissible at trial, the discovery must be “reasonably calculated to lead to the

discovery of admissible evidence.” See Fed. R. Civ. P. 26(b)(1).

       Courts have denied discovery of information constituting subsequent remedial measures

not relevant to the issues in the case or likely to lead to admissible evidence. See Barrett v.

Ambient Pressure Diving, Ltd., No. 06-CV-240-SM, 2008 WL 185835, *2 (D.N.H. Jan. 16,

2008) (denying motion to compel response to interrogatory seeking “all changes” or

“modifications” in design of product because such evidence of subsequent remedial measures



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was not “likely to lead to admissible evidence”); Richards v. Maine Central Railroad, 21 F.R.D.

590, 591-92 (D.Me. 1957) (denying discovery and holding “what directly matters are . . . acts or

omissions in the operation of the motor car at or shortly before the time of collision . . . what

someone . . . at a subsequent date thought of these acts or omissions is not relevant to the case.”).

Indeed, a party seeking to discover information subject to an evidentiary exclusionary rule, such

as Rule 407, must explain how the information sought is admissible for another purpose other

than that barred by the rule, and articulate a “plausible chain of inferences” regarding how the

information sought would lead to admissible evidence. Vardon Golf Company, Inc. v. BBMG

Golf Ltd., 156 F.R.D. 641, 651 (N.D. Ill. 1994) (denying motion to compel discovery of

subsequent remedial measures).2

         Here, Plaintiff has not articulated a “plausible chain of inferences” concerning how the

requested subsequent remedial measures are relevant to her claims, let alone issues of

“feasibility” or “impeachment.” Indeed, Plaintiff cannot. Plaintiff’s lawsuit is based upon eight

theories of MBCR’s purported negligence – none of which concern the adequacy of any MBCR

rule or internal procedure.3 Simply put, Plaintiff is not challenging the adequacy of any rule or

procedure in effect at the time of the accident. Rather, Plaintiff’s theories of liability are

premised entirely upon the alleged failure of MBCR employees to take certain actions and/or

2
  The cases cited by Plaintiff, In re Towner Petroleum Co. Securities Litigation, 1986 U.S. Dist. Lexis 30250 (E.D.
Pa. Jan 21, 1986) and Spencer v. Sea-Land Service, Inc., 1999 U.S. Dist. Lexis 12608 (S.D.N.Y. Aug. 16, 1999), are
inapposite. (Mem. at 11-12). In each of these cases, the plaintiff demonstrated a sufficient nexus between the
remedial measures and the bases for the plaintiffs’ claims in those actions, unlike here.
3
  The bases articulated by Plaintiff are: (1) the dispatcher negligently allowed the train on a track where she knew a
work crew was located; (2) MBCR had a practice of not using shunting devices on small jobs such as the one being
performed at the time of the accident; (3) MBCR failed to enforce its rule requiring the use of shunting devices; (4)
MBCR failed to provide its crew with working shunting devices; (5) the engineer failed to sound the horn for a
reasonable time period after he observed the work equipment on the tracks; (6) the engineer failed to sound the horn
in violation of MBCR Rule 19(b)(B); (7) MBCR failed to protect small maintenance crews with an advanced
watchman and/or gang watchman to provide proper warning; and (8) MBCR failed to provide advance watchman
and/or watchmen when crews consisted of less than seven workers in violation of MBCR RWP Rule 329. (See
Mem. at 3).



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properly implement rules or procedures. Accordingly, the feasibility of subsequent rule changes

by MBCR is irrelevant to Plaintiff’s claims.

       For the same reasons, the subsequent rule changes are not a relevant topic for

impeachment. Trying to squeeze into the impeachment exception to Rule 407, Plaintiff cites

Dollar v. Long Mfg., N.C., Inc., 561 F.2d 613, 618 (5th Cir. 1977). That case is distinguishable

because the remedial issue -- a warning concerning the dangerousness of a product -- was

directly relevant to the heart of the case (product defect) and the court held that the plaintiff was

entitled to use that evidence to impeach the testimony of defendant’s expert witness. Here, any

subsequent rule change is not related in any way to Plaintiffs’ claims concerning MBCR’s or its

employee’s alleged negligence. In short, there is no basis for discovery of MBCR’s subsequent

remedial measures.

II.    Plaintiff Is Not Entitled to the Entire Operating Agreement Between
       MBCR and the MBTA, But Only to the Indemnification Provisions

       By Request Nos. 40 and 41, Plaintiff seeks to compel MBCR’s entire operating

agreement with the MBTA. (Mem. at 18-19). Plaintiff contends that “[i]f MBCR is self-insured

up to a certain monetary level and the MBTA is required to pay damages beyond a certain level,

the information is discoverable.” (Id.) MBCR will agree to provide Plaintiff with the relevant

indemnification provisions from MBCR’s agreement with the MBTA pursuant to an appropriate

confidentiality stipulation. Plaintiff, however, articulates no basis whatsoever to compel the

entire operating agreement. Instead, the sole reason offered by Plaintiff to compel the operating

agreement is to determine MBTA’s indemnification obligations. (Mem. at 18-19). In view of

MBCR’s agreement to produce the indemnification information sought by Plaintiff, there is

simply no basis for production of the entire operating agreement, which contains irrelevant and

confidential business information, among other things.



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III.   The Personnel Files of the Dispatcher and Foreman Are Irrelevant and Private

       “Personnel files contain perhaps the most private information about an employee within

the possession of an employer.” Whittingham v. Amherst College, 164 F.R.D. 124, 127-28 (D.

Mass. 1995) (denying discovery of non-party personnel files) (citing Gehring v. Case Corp., 43

F.3d 340, 342 (7th Cir.1994) (affirming decision that releasing personnel files would violate

privacy interests), cert. denied, 515 U.S. 1159 (1995)). Accordingly, when a plaintiff requests

personnel files of a non-party, the plaintiff must satisfy a heavy burden of demonstrating how the

relevancy of the information sought in the personnel files outweighs the non-party employee’s

right to privacy. Id. Indeed, the contents of the personnel files must be “clearly relevant” and

the need for the files must be “compelling” based on a “fact-specific showing.” In re One

Bancorp Securities Litigation,134 F.R.D. 4, 12 (D.Me. 1991) (denying motion to compel

production of personnel files).

       The Supreme Judicial Court and Massachusetts Legislature also have recognized that

individuals have a heightened privacy interest in their personnel records. See Bratt v. Int'l

Business Machines Corp., 392 Mass. 508, 518 (1984); M.G.L. c. 214, § 1B (“A person shall

have a right against unreasonable, substantial or serious interference with his privacy. See also

M.G.L. c. 4, § 7, Twenty-sixth (c) (exempting “personnel and medical files” from definition of

“public records”). Courts routinely find unreasonable and deny discovery of non-party personnel

files in the absence of a specific nexus between the content of the files and the claims in the

lawsuit. See e.g. Fitzgerald v. Morrison, No. 002247B, 2002 WL 389872, at *1-2 (Mass. Super.

Jan. 10, 2002) (denying discovery of non-party personnel files).

       Here, Request Nos. 42 and 43 seek the complete personnel files of the foreman of

Macaulay’s crew and the dispatcher on duty at the time of the accident. (Mem. at 19-20).




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MBCR already produced the training and testing records for the foreman and the dispatcher.

MBCR also has informed Plaintiff that there are no disciplinary records for either of these

employees. (See Response No. 27). MBCR’s personnel files generally contain information

related to payroll, 401K, benefits, tax withholding, and health insurance, and other similar

documents, which are private and irrelevant to the issues in this case. In short, Plaintiff has

failed to satisfy the heavy burden to show that the types of documents within the personnel files

are relevant, and how the relevancy of that information outweighs the employees’ privacy rights.

See Whittingham, 164 F.R.D. at 127-128.

       In addition, the motion mischaracterizes the dispatcher’s deposition testimony by stating,

“she testified she was terminated after disciplinary proceedings pertaining to the accident that is

the subject of this lawsuit.” (Mem. at 20). On the contrary, Ms. Maseda briefly testified as

follows:

               Q.      And what is the reason you stopped working for MBCR?

               A.      I resigned in the face of imminent dismissal.

               Q.      Was the dismissal anything to do with the collision that occurred on
                       January 9, 2007?

               A.      Yes.

(Maseda deposition testimony at p. 6, attached hereto as Exhibit A). There was no further

testimony regarding “disciplinary proceedings” because, in fact, there were none. MBCR made

this clear to Plaintiff by its Response to Request No. 27 stating, “no such materials exist.”

(Mem. at 14). Accordingly, there are no documents to compel.

IV.    There Is Nothing to Compel Regarding the Rest of Plaintiff’s Motion

       The remainder of the motion to compel is superfluous. As the motion itself shows,

MBCR responded that it would produce the non-privileged documents, to the extent such



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documents exist, in response to most of the requests purportedly in dispute. MBCR has done so.

For example, MBCR has produced the following in response to Plaintiff’s requests:

        •    Request No. 2 (Macaulay’s personnel file):               MBCR 350-365, 579-611
        •    Request No. 12 (photographs):                            MBCR 422 (CD of photographs)
        •    Request No. 13 and 16 (radio tapes):                     MBCR 7174
        •    Request No. 17 (dispatching records):                    MBCR 6, 176-185, 661-673

        Despite MBCR’s production, Plaintiff essentially asserts that “there must be more.” But,

Plaintiff fails to make specific arguments in support of the motion to compel additional

documents from MBCR, and fails to identify a factual basis for its bare assertion. As set forth

above, MBCR has produced voluminous documents in response to Plaintiff’s requests in

accordance with its responses. As such, the motion to compel should be denied.

                                               CONCLUSION

        For the foregoing reasons, MBCR respectfully requests that the Court deny Plaintiff’s

Motion to Compel in its entirety.


                                                     Respectfully submitted,

                                                     MASSACHUSETTS BAY COMMUTER RAILROAD
                                                     COMPANY, LLC

                                                     By its attorneys,

                                                     /s/ Colleen C. Cook
                                                     Joel G. Beckman (BBO# 553086)
                                                     Michael Paris (BBO# 556791)
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                                                     10 St. James Ave., 16th Floor
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Dated: March 11, 2008

4
 Requests 13 and 16 seek “radio” communications only, but Plaintiff has tried to include telephone recordings
under this request.


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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
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March, 2008.


                                              /s/ Colleen C. Cook
                                              Colleen C. Cook




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